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AO 245B           Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED (Rev. 10/2019)
                  Sheet 1


                                          UNITED STATES DISTRICT COURT
                                               DISTRICT OF OREGON


 UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
          Plaintiff,                                                    Case No.: 6:18-CR-00492-MC-1
 v.                                                                     USM Number: 81087-065
 JOHN WIDENER JORDAN                                                    Todd H. Grover,
                                                                        Defendant’s Attorney
          Defendant.
                                                                        Nathan J. Lichvarcik and William McLaren
                                                                        Assistant U.S. Attorney
THE DEFENDANT:
☒pleaded guilty to count 1 and 2 of the Indictment.
The defendant is adjudicated guilty of the following offense(s):
                Title, Section & Nature of Offense                           Date Offense Concluded                 Count Number
 26:5861, 18:371 Conspiracy to Unlawfully Possess and Transfer         Beginning on or about 5/23/2018 and                  1
 a Machine Gun; Forfeiture Allegation                                       continuing until 6/6/2018
 26:5841, 5861(d) and 18:2 Unlawful Possession of a Machine                           6/6/2018                              2
 Gun; Forfeiture Allegation

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
☐The defendant has been found not guilty on count(s) and is discharged as to such count(s).
☒Count 3 is dismissed on the motion of the United States.
☒The defendant shall pay a special assessment in the amount of $100.00 for Counts 1 and waived as to Count 2 for a total payment of
$100.00 payable to the Clerk of the U.S. District Court. (See also the Criminal Monetary Penalties Sheet.)
IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in the defendant’s
economic circumstances.
                                                                        September 22, 2020
                                                                        Date of Imposition of Sentence


                                                                        Signature of Judicial Officer
                                                                        Michael J. McShane, U.S. District Judge
                                                                        Name and Title of Judicial Officer
                                                                         October 5, 2020
                                                                        Date
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                Sheet 4 - Probation
DEFENDANT: JOHN WIDENER JORDAN                                                                                       Judgment-Page 2 of 6
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                                                            PROBATION
The defendant is hereby sentenced to probation for a term of three (3) years.

                                                MANDATORY CONDITIONS
  1.      You must not commit another federal, state or local crime.
  2.      You must not unlawfully possess a controlled substance.
  3.      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
          release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               ☐The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
               substance abuse. (check if applicable)
  4.      ☐ You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if
          applicable)
  5.      ☒ You must cooperate in the collection of DNA as directed by the probation officer. ( check if applicable)
  6.      ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
          seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you
          reside, work, are a student, or were convicted of a qualifying offense. ( check if applicable)
  7.      ☐ You must participate in an approved program for domestic violence. ( check if applicable)
  8.      You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
  9.      If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
 10.      You must notify the court of any material change in your economic circumstances that might affect your ability to pay
          restitution, fines, or special assessments.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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                Sheet 4A - Probation
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                                    STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

  1.      You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
          the time you were sentenced, unless the probation officer instructs you to report to a different probation office or within a
          different time frame.
  2.      After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
          and when you must report to the probation officer, and you must report to the probation officer as instructed.
  3.      You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
          from the court or the probation officer.
  4.      You must answer truthfully the questions asked by your probation officer.
  5.      You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
          living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
          change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the
          probation officer within 72 hours of becoming aware of a change or expected change.
  6.      You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
          officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
  7.      You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses
          you from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
          officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
          or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the
          probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
          officer within 72 hours of becoming aware of a change or expected change.
  8.      You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
          been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
          permission of the probation officer.
  9.      If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
          that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
          nunchakus or tasers).
 11.      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
          without first getting the permission of the court.
 12.      If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
          may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
          contact the person and confirm that you have notified the person about the risk.
 13.      You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                        Date
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AO 245B         Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED (Rev. 10/2019)
                Sheet 5 - Criminal Monetary Penalties
DEFENDANT: JOHN WIDENER JORDAN                                                                                       Judgment-Page 4 of 6
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                                      SPECIAL CONDITIONS OF SUPERVISION
  1.      You must complete 80 hours of community service. The probation officer will supervise the participation in the program by
          approving the program (agency, location, frequency of participation, etc.). You must provide written verification of
          completed hours to the probation officer.

  2.      You must submit your person, property, house, residence, vehicle, papers, or office, to a search conducted by a United States
          probation officer. Failure to submit to a search may be grounds for revocation of release. You must warn any other occupants
          that the premises may be subject to searches pursuant to this condition. The probation officer may conduct a search under this
          condition only when reasonable suspicion exists that you have violated a condition of supervision and that the areas to be
          searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a reasonable manner.

  3.      You must not communicate, or otherwise interact, with Michael James Friesen either directly or through someone else,
          without first obtaining the permission of the probation officer.

  4.      You must submit to substance abuse testing to determine if you have used a prohibited substance. Such testing may include
          up to twelve (12) urinalysis tests per month. You must not attempt to obstruct or tamper with the testing methods.

  5.      You must not knowingly purchase, possess, distribute, administer, or otherwise use any psychoactive substances (e.g.,
          synthetic marijuana, bath salts, etc.) that impair a person's physical or mental functioning, whether or not intended for human
          consumption, except with the prior approval of the probation officer.

  6.      You must not go to or remain at any place where you know controlled substances are illegally sold, used, distributed, or
          administered without first obtaining the permission of the probation officer. Except as authorized by court order, you must
          not possess, use or sell marijuana or any marijuana derivative (including THC) in any form (including edibles) or for any
          purpose (including medical purposes). Without the prior permission of the probation officer, you must not enter any location
          where marijuana or marijuana derivatives are dispensed, sold, packaged, or manufactured.

  7.      You must not use or possess alcohol.

  8.      You must not knowingly enter any establishment where alcohol is the primary item for sale without first obtaining the
          permission of the probation officer.

  9.      You must participate in a mental health treatment program and follow the rules and regulations of that program. The
          probation officer, in consultation with the treatment provider, will supervise your participation in the program (provider,
          location, modality, duration, intensity, etc.).

 10.      You must complete 80 hours of community service. The probation officer will supervise the participation in the program by
          approving the program (agency, location, frequency of participation, etc.). You must provide written verification of
          completed hours to the probation officer.
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                                         CRIMINAL MONETARY PENALTIES
The defendant shall pay the following total criminal monetary penalties in accordance with the Schedule of Payments set forth in this
judgment.

                      Assessment                Restitution            Fine            AVAA              JVTA                TOTAL
                 (as noted on Sheet 1)                                               Assessment1       Assessment2

 TOTALS                 $100.00                    $0.00              $0.00             $0.00               $0.00            $ 100.00


☐The determination of restitution is deferred until ___________________. An Amended Judgment in a Criminal Case will be entered
after such determination.

☐The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be
paid in full prior to the United States receiving payment.

☐If applicable, restitution amount ordered pursuant to plea agreement: $________.

☐The defendant must pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the Schedule of Payments
may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

☐The court determined that the defendant does not have the ability to pay interest and it is ordered that

          ☐The interest is waived for the ☐ fine and/or ☐ restitution.

          ☐The interest requirement for the ☐ fine and/or ☐ restitution is modified as follows:




                  Any payment shall be divided proportionately among the payees named unless otherwise specified.
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AO 245B         Judgment in a Criminal Case - DISTRICT OF OREGON CUSTOMIZED (Rev. 10/2019)
                Sheet 6 - Schedule of Payments
DEFENDANT: JOHN WIDENER JORDAN                                                                                       Judgment-Page 6 of 6
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                                                SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment1 of the total criminal monetary penalties shall be as follows:

          A. ☐Lump sum payment of $_________ due immediately, balance due
                  ☐not later than _________, or
                  ☐in accordance with ☐ C, ☐ D, or ☐ E below; or
          B. ☒Payment to begin immediately (may be combined with ☐ C, ☐ D, or ☐ E below); or
          C. ☐If there is any unpaid balance at the time of defendant's release from custody, it shall be paid in monthly installments
             of not less than $_________, or not less than 10% of the defendant's monthly gross earnings, whichever is greater, until
             paid in full to commence immediately upon release from imprisonment.
          D. ☐ Any balance at the imposition of this sentence shall be paid in monthly installments of not less than $_________, or
             not less than 10% of the defendant's monthly gross earnings, whichever is greater, until paid in full to commence
             immediately.
          E. ☐Special instructions regarding the payment of criminal monetary penalties:


Unless the Court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties, including restitution, shall be due during the period of imprisonment as follows: (1) 50% of
wages earned if the defendant is participating in a prison industries program; (2) $25 per quarter if the defendant is not working in a
prison industries program. . If the defendant received substantial resources from any source, including inheritance, settlement, or
other judgment, during a period of incarceration, the defendant shall be required to apply the value of such resources to any restitution
or fine still owed, pursuant to 18 USC § 3664(n).

Nothing ordered herein shall affect the government’s ability to collect up to the total amount of criminal monetary penalties imposed,
pursuant to any existing collection authority.

All criminal monetary penalties, including restitution, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the Clerk of Court at the address below, unless otherwise directed by the Court, the
Probation Officer, or the United States Attorney.

                                     Clerk of Court
                                     U.S. District Court - Oregon
                                     405 E. 8th Ave., Ste. 2100
                                     Eugene, OR 97401


The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☐ Joint and Several

    Case Number
    Defendant and Co-Defendant Names                                                                     Corresponding Payee, if
    (including Defendant number)               Total Amount           Joint and Several Amount           appropriate


☐The defendant shall pay the cost of prosecution.
☐The defendant shall pay the following court costs:
☒The defendant shall forfeit the defendant's interest in the following property to the United States: Guide Lamp, Model M3A1, .45
caliber machine gun.


1
  Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA
assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs,
including cost of prosecution and court costs.
